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                                                                                July 6, 2023

VIA ECF AND ELECTRONIC MAIL

Hon. Paul A Engelmayer
United States District Court Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States v. Ari Teman, 19 Cr. 696 (PAE) – Designation to BOP facility, request
    for motion deadline and request to continue bail and extend date of surrender


Dear Judge Engelmayer:

COURT ORDERS DATED JUNE 15, 2023, AND JUNE 26, 2023

I write in response to the Court’s Orders dated June 15, 2023, and June 26, 2023. In
those Orders, Your Honor instructed counsel to provide the Court with a
recommendation regarding Mr. Teman’s designation upon his surrender. After
speaking with Mr. Teman and an individual experienced in BOP placement, I propose
that the Court recommend to the BOP that Mr. Teman be designated at the Federal
Prison Camp, Miami.

MOTION SCHEDULE AND REQUEST TO CONTINUE BAIL AND EXTEND DATE OF SURRENDER

I also write to ask that the Court schedule a filing deadline for a motion pursuant to 28
U.S.C. §2255, by Monday, September 21, 2023. We would also ask that the Court extend
Mr. Teman’s surrender date to a date after September 21, 2023, and continue bail during
that time. Counsel was appointed on June 15, 2023, to this matter. The information in
this case is voluminous, and Mr. Teman is familiar with the trial and sentencing
transcripts, as well as the multiple other submissions on the docket. His assistance in
quickly understanding the issues in this matter will be invaluable. To date, I have
discussed with Mr. Teman various significant issues for briefing, and I need time to
continue to speak with Mr. Teman about those issues and continue to identify
additional issues for briefing.

Communication with Mr. Teman once he is incarcerated will be significantly restricted.
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Merely scheduling a phone communication with a client at a BOP facility can be an
onerous process. Once he is incarcerated, it is not possible to predict, 1) how long it will
take to get into contact with Mr. Teman, 2) how much time he will be granted for legal
calls, or 3) whether and to what extent the frequency and duration of the calls will be
affected by unexpected lockdowns or impromptu inmate counts.

One thing further – continuing his surrender date until after counsel has had a chance
to prepare and file a 2255 motion, will also allow the BOP time within which to consider
the Court’s recommendation and determine an appropriate designation for Mr. Teman.

Mr. Teman has been tried, convicted and sentenced in this matter. He has remained at
liberty on bail and has complied with all conditions. He remains today, as he has for
the past 4 years, no danger to the community and no risk of flight. An additional 45
days will only prove to be helpful to counsel in preparing a 2255 motion on
Mr. Teman’s behalf. The government opposes this request. However, there is no
prejudice to the government. Accordingly, I request that the Court allow counsel to file
a 2255 motion on behalf of Mr. Teman, by September 21, 2023, and extend Mr. Teman’s
time to surrender to a date after September 21, 2023.


Respectfully Submitted,


Karloff C. Commissiong, Esq.


Cc:    A.U.S.A. Kedar Bhatia




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